IN THE UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT SQ

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UNITED STATES OF AMERICA So. be

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v. No. 07-4060 Sse
° (07-4059MMY 192008
PAULETTE MARTIN r= .
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MOTION TO RESCIND BRIEFING ORDER

Comes now Appellant herein, Paulette Martin, by and through her counsel, Michael
D. Montemarano, Esq., and Michael D. Montemarano, P.A., as appointed counsel pursuant to the
CJA, and as lead counsel in this joint appeal, and does move on her own behalf to rescind the
briefing order previously issued in this matter, and in support thereof does state:

1. The Court issued a briefing order on April 30, 2008, with the joint brief of the six
Appellants to be due in the first week of June, 2008. This apparently was done in response to a
certification having been filed with the Court that the transcript was complete and had been filed.
This certification is not correct.

2. As of the date of the instant Motion, counsel for Appellant Martin has yet to receive
transcripts from the following eight dates: March 28, 2005 (motions hearing); July 18, August 8,
10, 27, 29, 30, 2006 (trial); December 19, 2006 (joint sentencing date). These dates all are noted on
the docket sheet as dates of court proceedings, and previously were ordered with the filing of the

docketing statement. This appeal is from a twelve week trial, and there will be approximately forty-

two (42) separate dates of transcript required for this appeal.
3. As of the date of the instant Motion, counsel for Appellant Martin, who is serving as
lead counsel in this appeal, having contacted all other appellate counsel regarding the status of the
transcript, has yet to receive any indication from counsel for any other Appellant as to whether any
portion(s) of the transcript either have been received or are missing from what those counsel ordered
or are expecting.

4. Counsel for Appellant exchanged voicemail messages with counsel for Appellee,
Assistant United States Attorney Bonnie Greenberg, on the date of this Motion, and is authorized
by her to state that she does not object to this Motion.

Respectfully submitted,

MICHAEL D. MONTEMARANO

Michael D. Montemarano, P.A.

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Counsel of Record/CJA Counsel
For Appellant

CERTIFICATE OF SERVICE
I HEREBY CERTIFY that on or before this 13" day of May, 2008, a copy of the foregoing
Motion to Rescind Briefing Order was mailed, U.S. postage prepaid, to Bonnie Greenberg, Esq.,

Assistant United States Attorney, 36 South Charles Street, Suite 400, Baltimore, MD 21201, and all
counsel for Appellants.

MICHAEL D. MONTEMARANO
